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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )          2:07-CR-00048-WBS
                                   )
12                  Plaintiff,     )          FINAL ORDER OF FORFEITURE
                                   )
13             v.                  )
                                   )
14   ROMAN KARELOV,                )
                                   )
15                  Defendant.     )
     ______________________________)
16
17        WHEREAS, on or about October 24, 2007, this Court entered a
18   Preliminary Order of Forfeiture pursuant to the provisions of 18
19   U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), based upon the plea
20   agreement entered into between plaintiff and defendant Roman Karelov
21   forfeiting to the United States the following property:
22        a.   Approximately $11,050.00 in U.S. Currency seized at
               the residence of ROMAN KARELOV at 9 Purple Plum
23             Court, Baltimore County, Maryland.
24        AND WHEREAS, on November 7, 14, and 21, 2007, the United States
25   published notification of the Court's Preliminary Order of
26   Forfeiture in The Baltimore Sun (Baltimore County), a newspaper of
27   general circulation located in the county in which the subject
28   property was seized.    Said published notice advised all third

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 1   parties of their right to petition the court within thirty (30) days
 2   of the publication date for a hearing to adjudicate the validity of
 3   their alleged legal interest in the forfeited property;
 4        AND WHEREAS, the Court has been advised that no third party has
 5   filed a claim to the subject property, and the time for any person
 6   or entity to file a claim has expired.
 7        Accordingly, it is hereby ORDERED and ADJUDGED:
 8        1.    A Final Order of Forfeiture shall be entered forfeiting to
 9   the United States of America all right, title, and interest in the
10   above-listed property pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
11   U.S.C. § 2461(c), to be disposed of according to law, including all
12   right, title, and interest of Roman Karelov.
13        2.    All right, title, and interest in the above-described
14   property shall vest solely in the name of the United States of
15   America.
16        3.    The U.S. Marshals Service shall maintain custody of and
17   control over the subject property until it is disposed of according
18   to law.
19        SO ORDERED THIS 23rd day of January, 2008.
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